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                                                                                            FILED
                                                                                     IM OPEN COURT



                                                                                     JUL - 7 2022
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                CLERK, U.S. DISTRICT COURT
                                     Newport News Division                             NORFOLK. VA


 UNITED STATES OF AMERICA


        V.                                            Criminal No. 4:22-cr-34


 DILLARD JAMAR BOOKER,

                Defendant.


                                   STATEMENT OF FACTS


        The United States and the defendant, Dillard Jamar Booker, agree that if this case were to

 proceed to trial, the United States would prove the charge of Possession of a Firearm in

 Furtherance of a Drug Trafficking Crime, under Count Six ofthe Indictment, beyond a

 reasonable doubt, by proof of the following facts through admissible and credible evidence:

        1.      In March 2021, law enforcement received information about a subject selling

 cocaine in the city of Newport News, Virginia. Through an investigation, the subject was

 identified as the defendant, Dillard Jamar Booker.

        2.      During the months of August and September 2021, law enforcement conducted

 controlled narcotics transactions, during which the defendant knowingly distributed cocaine to a

 confidential source.


        3.      One of the controlled transactions took place outside the defendant's residence

 located on River Road in Newport News, Virginia, and as part of the continued investigation of

 the defendant, on October 19, 2021, law enforcement obtained a sealed search warrant for the

 defendant's River Road residence.


        4.     Law enforcement executed the search warrant on October 21, 2021, and

 recovered from the defendant's River Road residence, among other items:
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                a. Two handguns located in the defendant's living room (a black and silver

                    Taurus G2C .40 caliber handgun, bearing the serial number SMD65652; and a

                    black Taurus TH9 9mm handgun, bearing the serial number ACC604060);

                b. A Ruger AR-556 rifle, bearing the serial number 853-85895, located in the

                    defendant's bedroom closet;

                c. $885 in U.S. currency, representing drug proceeds, and an additional handgun

                    (an HK USP .45 caliber handgun, bearing the serial number 25-109711)

                    located in the defendant's bedside dresser drawer; and

                d. A backpack located on the bed, which contained within it a clear plastic bag

                    with a significant amount of suspected cocaine.

        5.      The Virginia Department of Forensic Science("DFS")tested the suspected

 cocaine recovered from the defendant's residence and confirmed that the substance contained


 cocaine and reported a total weight measurement of 14.66 grams including packaging.

        6.      The cocaine was not for the defendant's personal use, and instead, the defendant

 possessed the cocaine with the intention to distribute it.

        7.      As a result of the search, law enforcement also found clear plastic bags with

 missing corners, Pyrex cookware, and a box of unused "Love Roses," all of which are indicative

 of the distribution of cocaine.


        8.      Law enforcement test fired the above-listed firearms that were recovered from the


 defendant's residence and determined that each firearm was operable.

        9.      The acts described above taken by the defendant were done willfully, knowingly,

 intentionally, and unlawfully and not by accident, mistake or other innocent reason. The

 defendant further acknowledges that the foregoing statement of facts covers the elements of the




                                                                                    Vb
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 offense to which he is pleading guilty but does not describe all of the defendant's conduct

 relating to the offenses charged in this case.



                                                  Respectfully submitted,

                                                  JESSICA D. ABER
                                                  UNITED STATES ATTORNEY




                                        By:
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        After consulting with my attorney and pursuant to the plea agreement entered into this day

 between the defendant, Dillard Jamar Booker, and the United States, I hereby stipulate that the

 above Statement ofFacts is true and accurate, and that had the matter proceeded to trial, the United

 States would have proved the same beyond a reasonable doubt.




                                                 illard Jamar Booker




        I am counsel for the defendant, Dillard Jamar Booker. I have carefully reviewed the above

 Statement of Facts with him. To my knowledge, his decision to stipulate to these facts is an

 informed and voluntary one.




                                               An^rpwHjrindrod
                                               Attorney for Dillap-d Idmar Booker
